
		
				RE REINSTATEMENT OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2022 OK 43Decided: 05/02/2022THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2022 OK 43, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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RE: Reinstatement of Certificates of Certified Shorthand Reporters



ORDER



The Oklahoma Board of Examiners of Certified Shorthand Reporters recommended to the Supreme Court of Oklahoma that the certificate of each of the Oklahoma Certified Shorthand Reporters named below be reinstated as they have complied with the continuing education requirements for 2021 and annual certificate renewal requirements for 2022 and have paid all applicable fees.

IT IS HEREBY ORDERED pursuant to 20 O.S., Chapter 20, App. l, Rules 20 and 23, the certificates of the following shorthand reporters are reinstated from the suspension earlier imposed by this Court:

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			Name
			
			
			CSR #
			
			
			Effective Date of Reinstatement
			
		
		
			
			Kortney Houts
			Monique McAllister
			Kimberly Morris
			
			
			1804
			1962
			1470
			
			
			March 31, 2022
			April 13, 2022
			April 13, 2022
			
		
	


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DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 2ND day of MAY, 2022.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.






